EXHIBIT 2
 1                                                                      HONORABLE THOMAS S. ZILLY

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 7
                                  UNITED STATES DISTRICT COURT
 8                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 9
     HUNTERS CAPITAL, LLC, et al.,
10                                                      Case No. 20-cv-00983
                            Plaintiffs,
11                                                      PLAINTIFF HUNTERS CAPITAL, LLC’S
                v.                                      FIRST SET OF INTERROGATORIES AND
12                                                      FIRST REQUESTS FOR PRODUCTION TO
     CITY OF SEATTLE,                                   DEFENDANT CITY OF SEATTLE AND THE
13                                                      CITY’S OBJECTIONS AND RESPONSES
                            Defendant.                  THERETO
14

15
            Defendant City of Seattle (“City”) hereby responds to Plaintiff Hunters Capital, LLC’s
16
     First Set of Interrogatories and First Requests for Production to Defendant City of Seattle.
17
                           GENERAL OBJECTIONS AND RESERVATIONS
18
            The City objects to these discovery requests to the extent they seek production of
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     documents or information protected from disclosure by the attorney-client privilege, the work-
20
     product doctrine, or any other applicable doctrine or privilege.
21
            The City has invested significant resources in identifying and collecting potentially
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     responsive records from several of its departments. The City’s review of the records collected thus
23
     far is underway. As counsel for the City has communicated to the plaintiffs’ counsel, the City
24
     expects that some records, including from the Seattle Police Department (SPD), will take longer
25
                                                                                          LAW OFFICES
     PLAINTIFF HUNTERS CAPITAL, LLC’S FIRST SET OF                        HARRIGAN LEYH FARMER & THOMSEN LLP
     INTERROGATORIES AND FIRST REQUESTS FOR PRODUCTION                           999 THIRD AVENUE, SUITE 4400
                                                                                 SEATTLE, WASHINGTON 98104
     TO DEFENDANT CITY OF SEATTLE AND THE CITY’S                              TEL (206) 623-1700 FAX (206) 623-8717
     OBJECTIONS AND RESPONSES THERETO - 1
     (Case No. 20-cv-00983)
 1          1. City Attorney’s Office spreadsheet of public disclosure requests dated between June 8

 2              and October 30, 2020;

 3          2. SPD spreadsheet of public disclosure requests dated between June 8 and October 30,

 4              2020; and

 5          3. Documents dated between June 8, 2020 and July 10, 2020, collected from the agreed

 6              list of custodians, and containing the search terms provided by the plaintiffs.

 7

 8                                   REQUESTS FOR PRODUCTION

 9          REQUEST FOR PRODUCTION NO. 1: Please produce all documents and

10   communications relating or referring to any complaints Defendant, or any of Defendant’s

11   employees or officials (including, but not limited to, the Mayor and Mayor’s office), have received

12   that concern, related [sic] to, reference, or otherwise raise complaints about the CHOP, conditions

13   on Capitol Hill during the CHOP occupation, the CHOP zone, or CHOP participants.

14          RESPONSE: The City objects to this request as vague, ambiguous, overly broad, and

15   unduly burdensome because (1) “complaint” has multiple meanings but is not defined, (2) the City

16   has no reasonable means of identifying complaints that “concern, relate[] to, reference, or

17   otherwise raise complaints about” the CHOP unless they also “refer” to it (or use one of its

18   synonyms), (3) as written, the request would require searching the communications of hundreds (or

19   more) employees, and (4) the request encompasses a larger geographic area and a longer

20   timeframe than is relevant to the claims or defenses in this case.

21          Without waiving any objection, and subject to continuing investigation, the City will

22   produce responsive, non-privileged records (1) dated between June 8, 2020 and July 10, 2020, (2)

23   containing at least one of the search terms provided by the plaintiffs (see Ex. B), (3) gathered from

24   one of the following City departments: Emergency Operations Center (EOC) and/or Office of

25
                                                                                          LAW OFFICES
     PLAINTIFF HUNTERS CAPITAL, LLC’S FIRST SET OF                        HARRIGAN LEYH FARMER & THOMSEN LLP
     INTERROGATORIES AND FIRST REQUESTS FOR PRODUCTION                           999 THIRD AVENUE, SUITE 4400
                                                                                 SEATTLE, WASHINGTON 98104
     TO DEFENDANT CITY OF SEATTLE AND THE CITY’S                              TEL (206) 623-1700 FAX (206) 623-8717
     OBJECTIONS AND RESPONSES THERETO - 22
     (Case No. 20-cv-00983)
 1   Emergency Management (OEM), FAS, HSD, Mayor’s office, Office Economic Development

 2   (OED), Parks, SDOT, SFD, SPD, SPU, and (4) for emails and text messages, gathered from the

 3   agreed list of custodians (see Ex. B). The City’s rolling production will begin on or about

 4   November 13, 2020.

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 7          REQUEST FOR PRODUCTION NO. 2: Please produce all documents and

 8   communications (including but not limited to emails, text messages, voice messages, messages on

 9   social media platforms, memoranda, meeting minutes, videos, and photographs) to, from, in the

10   possession of, concerning, or involving the following persons, organizations and City divisions,

11   which concern, relate to, and/or reference the CHOP, CHOP participants, and/or the conditions on

12   Capitol Hill or the CHOP zone during the CHOP occupation:

13              a.   Mayor Jenny Durkan
                b.   The Mayor’s office, including members of the Mayor’s staff;
14              c.   The Seattle City Council, including the members of the Council and their staff;
                d.   Sabrina Bolieu;
15              e.   Any and all members of the City’s business liaison office, including its staff;
                f.   Bobby Lee;
16              g.   Michael Wells;
                h.   City’s Office of Economic Development, including its members and staff;
17              i.   Peter Holmes;
                j.   The City Attorney’s Office, including its members and staff;
18              k.   SPU Director Mami Hara and her staff;
                l.   SPU, including its leadership, staff, employees, agents, or contractors;
19              m.   SDOT Director Sam Zimbabwe and his staff;
                n.   SDOT, including its leadership, staff, employees, agents, or contractors;
20              o.   Adrienne Thompson;
                p.   Members of the City’s policy staff, including all person responsible for advising on
21                   or setting City policies;
                q.   SPD Chief Carmen Best and her office or staff;
22              r.   SPD, including its leadership, officers, staff, employees, agents, and contractors;
                s.   SFD Chief Harold Scoggins and his office or staff;
23              t.   SFD, including its leadership, staff, employees, agents, and contractors.

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                                                                                       LAW OFFICES
     PLAINTIFF HUNTERS CAPITAL, LLC’S FIRST SET OF                     HARRIGAN LEYH FARMER & THOMSEN LLP
     INTERROGATORIES AND FIRST REQUESTS FOR PRODUCTION                        999 THIRD AVENUE, SUITE 4400
                                                                              SEATTLE, WASHINGTON 98104
     TO DEFENDANT CITY OF SEATTLE AND THE CITY’S                           TEL (206) 623-1700 FAX (206) 623-8717
     OBJECTIONS AND RESPONSES THERETO - 23
     (Case No. 20-cv-00983)
 1              RESPONSE: The City objects to this request as vague, ambiguous, overly broad, and

 2   unduly burdensome because (1) the City has no reliable means of identifying whether a given

 3   person qualifies as a “CHOP participant” as defined, (2) the “CHOP zone” as defined encompasses

 4   a geographic area so large that searching it is likely to include information unrelated to the claims

 5   or defenses in this case and would be disproportionate to the case’s needs, (3) this problem is

 6   compounded by the request including “Capitol Hill,” (4) the City has no reasonable means of

 7   identifying documents and communications that “concern, relate[] to, and/or reference the CHOP”

 8   unless they also refer to it (or use one of its synonyms), and (5) applied literally, this request would

 9   require searching and reviewing the accounts of hundreds (or more) City employees, which would

10   be greatly disproportionate to the needs of the case.

11              Without waiving any objection, and subject to continuing investigation, the City will

12   produce responsive, non-privileged records (1) dated between June 8, 2020 and July 10, 2020, (2)

13   containing at least one of the search terms provided by the plaintiffs (see Ex. B), (3) gathered from

14   one of the following City departments: EOC and/or OEM, FAS, HSD, Mayor’s office, OED,

15   Parks, SDOT, SFD, SPD, SPU, and (4) for emails and text messages, gathered from the agreed list

16   of custodians (see Ex. B).4 The City’s rolling production will begin on or about November 13,

17   2020.

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19

20              REQUEST FOR PRODUCTION NO. 3: Please produce all documents and

21   communications relating to or refencing any and all 9-1-1, fire, police, medical, first responder,

22   ambulance or other emergency calls that concern, relate to, or reference the CHOP, incidents

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25   4
         The agreed list of custodians does not include members of the Seattle City Council or the City Attorney’s Office.
                                                                                                      LAW OFFICES
     PLAINTIFF HUNTERS CAPITAL, LLC’S FIRST SET OF                                    HARRIGAN LEYH FARMER & THOMSEN LLP
     INTERROGATORIES AND FIRST REQUESTS FOR PRODUCTION                                       999 THIRD AVENUE, SUITE 4400
                                                                                             SEATTLE, WASHINGTON 98104
     TO DEFENDANT CITY OF SEATTLE AND THE CITY’S                                          TEL (206) 623-1700 FAX (206) 623-8717
     OBJECTIONS AND RESPONSES THERETO - 24
     (Case No. 20-cv-00983)
 1   occurring at or near the CHOP zone, or involve CHOP participants, including but not limited to the

 2   recordings and transcripts of those calls.

 3           RESPONSE: The City objects to this request as vague, ambiguous, overly broad, and

 4   unduly burdensome because (1) “incident” is not defined and likely includes information unrelated

 5   to the claims or defenses in this case, (2) the City has no reliable means of identifying whether a

 6   given person qualifies as a “CHOP participant” as defined, (3) the “CHOP zone” as defined

 7   encompasses a geographic area so large that searching it is likely to include information unrelated

 8   to the claims or defenses in this case and would be disproportionate to the case’s needs, (4) this

 9   problem is compounded by the request including areas “near” the CHOP zone, (5) the City has no

10   reasonable means of identifying documents and communications that “concern, relate[] to, and/or

11   reference the CHOP” unless they also refer to it (or use one of its synonyms), and (6) applied

12   literally, this request would require searching and reviewing the accounts of hundreds (or more)

13   City employees, which would be greatly disproportionate to the needs of the case. The City

14   specifically objects to the production of SFD radio communications and fire dispatch call

15   recordings because the burden or expense of producing them far outweighs its likely benefit and

16   would be disproportionate to the needs of the case, particularly in light of the other materials the

17   City will produce.

18           Without waiving any objection, and subject to continuing investigation, the City will

19   produce responsive, non-privileged records (1) dated between June 8, 2020 and July 10, 2020, (2)

20   containing at least one of the search terms provided by the plaintiffs (see Ex. B), (3) gathered from

21   one of the following City departments: EOC and/or OEM, FAS, HSD, Mayor’s office, OED,

22   Parks, SDOT, SFD, SPD, SPU, and (4) for emails and text messages, gathered from the agreed list

23   of custodians (see Ex. B). The City’s rolling production will begin on or about November 13,

24   2020.

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                                                                                         LAW OFFICES
     PLAINTIFF HUNTERS CAPITAL, LLC’S FIRST SET OF                      HARRIGAN LEYH FARMER & THOMSEN LLP
     INTERROGATORIES AND FIRST REQUESTS FOR PRODUCTION                          999 THIRD AVENUE, SUITE 4400
                                                                                SEATTLE, WASHINGTON 98104
     TO DEFENDANT CITY OF SEATTLE AND THE CITY’S                             TEL (206) 623-1700 FAX (206) 623-8717
     OBJECTIONS AND RESPONSES THERETO - 25
     (Case No. 20-cv-00983)
 1

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 3          REQUEST FOR PRODUCTION NO. 4: Please produce all documents and

 4   communications consisting of or related to orders and directions given to SPD officers and

 5   employees concerning, related to, or referencing the CHOP, incidents occurring at or near the

 6   CHOP zone, or involving CHOP participants.

 7          RESPONSE: The City objects to this request as vague, ambiguous, overly broad, and

 8   unduly burdensome because (1) “incident” is not defined and likely includes information unrelated

 9   to the claims or defenses in this case, (2) the “CHOP zone” as defined encompasses a geographic

10   area so large that searching it is likely to include information unrelated to the claims or defenses in

11   this case and would be disproportionate to the case’s needs, (3) this problem is compounded by the

12   request including areas “near” the CHOP zone, (4) the City has no reliable means of identifying

13   whether a given person qualifies as a “CHOP participant” as defined, (5) the City has no

14   reasonable means of identifying order and directions that “concern, relate[] to, or reference the

15   CHOP” unless they also refer to it (or use one of its synonyms), and (6) as written, this request

16   would require searching and reviewing all SPD communications at a minimum. For SPD records

17   related to offenses allegedly occurring within the “CHOP zone,” the City will produce all 9-1-1

18   calls, all SPD radio communication, and SPD CAD logs. The City will not produce every SPD

19   record associated with every offense allegedly occurring within the “CHOP zone” because the

20   burden or expense of producing them far outweighs the likely benefit and would be

21   disproportionate to the needs of the case.

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23          Without waiving any objection, and subject to continuing investigation, the City will

24   produce responsive, non-privileged records (1) dated between June 8, 2020 and July 10, 2020, (2)

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                                                                                         LAW OFFICES
     PLAINTIFF HUNTERS CAPITAL, LLC’S FIRST SET OF                       HARRIGAN LEYH FARMER & THOMSEN LLP
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                                                                                SEATTLE, WASHINGTON 98104
     TO DEFENDANT CITY OF SEATTLE AND THE CITY’S                             TEL (206) 623-1700 FAX (206) 623-8717
     OBJECTIONS AND RESPONSES THERETO - 26
     (Case No. 20-cv-00983)
 1   containing at least one of the search terms provided by the plaintiffs (see Ex. B), (3) gathered from

 2   one of the following City departments: EOC and/or OEM, FAS, HSD, Mayor’s office, OED,

 3   Parks, SDOT, SFD, SPD, SPU, and (4) for emails and text messages, gathered from the agreed list

 4   of custodians (see Ex. B). The City’s rolling production will begin on or about November 13,

 5   2020.

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 7

 8           REQUEST FOR PRODUCTION NO. 5: Please produce all documents and

 9   communications consisting of or related to orders and directions given to SFD firepersons and

10   employees related to, referencing, or concerning the CHOP, incidents occurring at or near the

11   CHOP zone, or involving CHOP participants.

12           RESPONSE: The City objects to this request as vague, ambiguous, overly broad, and

13   unduly burdensome because (1) “incident” is not defined and likely includes information unrelated

14   to the claims or defenses in this case, (2) the “CHOP zone” as defined encompasses a geographic

15   area so large that searching it is likely to include information unrelated to the claims or defenses in

16   this case and would be disproportionate to the case’s needs, (3) this problem is compounded by the

17   request including areas “near” the CHOP zone, (4) the City has no reliable means of identifying

18   whether a given person qualifies as a “CHOP participant” as defined, (5) the City has no

19   reasonable means of identifying order and directions that “concern, relate[] to, or reference the

20   CHOP” unless they also refer to it (or use one of its synonyms), and (6) as written, this request

21   would require searching and reviewing all SFD communications at a minimum. The City

22   specifically objects to the production of SFD radio communications and fire dispatch call

23   recordings because the burden or expense of producing them far outweighs its likely benefit and

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                                                                                         LAW OFFICES
     PLAINTIFF HUNTERS CAPITAL, LLC’S FIRST SET OF                       HARRIGAN LEYH FARMER & THOMSEN LLP
     INTERROGATORIES AND FIRST REQUESTS FOR PRODUCTION                          999 THIRD AVENUE, SUITE 4400
                                                                                SEATTLE, WASHINGTON 98104
     TO DEFENDANT CITY OF SEATTLE AND THE CITY’S                             TEL (206) 623-1700 FAX (206) 623-8717
     OBJECTIONS AND RESPONSES THERETO - 27
     (Case No. 20-cv-00983)
 1   would be disproportionate to the needs of the case, particularly in light of the other materials the

 2   City will produce.

 3           Without waiving any objection, and subject to continuing investigation, the City will

 4   produce responsive, non-privileged records (1) dated between June 8, 2020 and July 10, 2020, (2)

 5   containing at least one of the search terms provided by the plaintiffs (see Ex. B), (3) gathered from

 6   one of the following City departments: EOC and/or OEM, FAS, HSD, Mayor’s office, OED,

 7   Parks, SDOT, SFD, SPD, SPU, and (4) for emails and text messages, gathered from the agreed list

 8   of custodians (see Ex. B). The City’s rolling production will begin on or about November 13,

 9   2020.

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11

12           REQUEST FOR PRODUCTION NO. 6: Please produce all documents and

13   communications consisting of or related to orders and directions given to SDOT employees and

14   personnel related to or referencing the CHOP, incidents occurring at or near the CHOP zone, or

15   involving CHOP participants.

16           RESPONSE: The City objects to this request as vague, ambiguous, overly broad, and

17   unduly burdensome because (1) “incident” is not defined and likely includes information unrelated

18   to the claims or defenses in this case, (2) the “CHOP zone” as defined encompasses a geographic

19   area so large that searching it is likely to include information unrelated to the claims or defenses in

20   this case and would be disproportionate to the case’s needs, (3) this problem is compounded by the

21   request including areas “near” the CHOP zone, (4) the City has no reliable means of identifying

22   whether a given person qualifies as a “CHOP participant” as defined, (5) the City has no

23   reasonable means of identifying order and directions that “concern, relate[] to, or reference the

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                                                                                         LAW OFFICES
     PLAINTIFF HUNTERS CAPITAL, LLC’S FIRST SET OF                       HARRIGAN LEYH FARMER & THOMSEN LLP
     INTERROGATORIES AND FIRST REQUESTS FOR PRODUCTION                          999 THIRD AVENUE, SUITE 4400
                                                                                SEATTLE, WASHINGTON 98104
     TO DEFENDANT CITY OF SEATTLE AND THE CITY’S                             TEL (206) 623-1700 FAX (206) 623-8717
     OBJECTIONS AND RESPONSES THERETO - 28
     (Case No. 20-cv-00983)
 1   CHOP” unless they also refer to it (or use one of its synonyms), and (6) as written, this request

 2   would require searching and reviewing all SDOT communications at a minimum.

 3           Without waiving any objection, and subject to continuing investigation, the City will

 4   produce responsive, non-privileged records (1) dated between June 8, 2020 and July 10, 2020, (2)

 5   containing at least one of the search terms provided by the plaintiffs (see Ex. B), (3) gathered from

 6   one of the following City departments: EOC and/or OEM, FAS, HSD, Mayor’s office, OED,

 7   Parks, SDOT, SFD, SPD, SPU, and (4) for emails and text messages, gathered from the agreed list

 8   of custodians (see Ex. B). The City’s rolling production will begin on or about November 13,

 9   2020.

10

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12           REQUEST FOR PRODUCTION NO. 7: Please produce all documents and

13   communications consisting of or related to orders and directions given to SPU employees and

14   personnel related to or referencing the CHOP, incidents occurring at or near the CHOP zone, or

15   involving CHOP participants.

16           RESPONSE: The City objects to this request as vague, ambiguous, overly broad, and

17   unduly burdensome because (1) “incident” is not defined and likely includes information unrelated

18   to the claims or defenses in this case, (2) the “CHOP zone” as defined encompasses a geographic

19   area so large that searching it is likely to include information unrelated to the claims or defenses in

20   this case and would be disproportionate to the case’s needs, (3) this problem is compounded by the

21   request including areas “near” the CHOP zone, (4) the City has no reliable means of identifying

22   whether a given person qualifies as a “CHOP participant” as defined, (5) the City has no

23   reasonable means of identifying order and directions that “concern, relate[] to, or reference the

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                                                                                         LAW OFFICES
     PLAINTIFF HUNTERS CAPITAL, LLC’S FIRST SET OF                       HARRIGAN LEYH FARMER & THOMSEN LLP
     INTERROGATORIES AND FIRST REQUESTS FOR PRODUCTION                          999 THIRD AVENUE, SUITE 4400
                                                                                SEATTLE, WASHINGTON 98104
     TO DEFENDANT CITY OF SEATTLE AND THE CITY’S                             TEL (206) 623-1700 FAX (206) 623-8717
     OBJECTIONS AND RESPONSES THERETO - 29
     (Case No. 20-cv-00983)
 1   CHOP” unless they also refer to it (or use one of its synonyms), and (6) as written, this request

 2   would require searching and reviewing all SPU communications at a minimum.

 3           Without waiving any objection, and subject to continuing investigation, the City will

 4   produce responsive, non-privileged records (1) dated between June 8, 2020 and July 10, 2020, (2)

 5   containing at least one of the search terms provided by the plaintiffs (see Ex. B), (3) gathered from

 6   one of the following City departments: EOC and/or OEM, FAS, HSD, Mayor’s office, OED,

 7   Parks, SDOT, SFD, SPD, SPU, and (4) for emails and text messages, gathered from the agreed list

 8   of custodians (see Ex. B). The City’s rolling production will begin on or about November 13,

 9   2020.

10           Without waiving any objection, and subject to continuing investigation, the City will

11   produce the responsive, non-privileged records on a rolling basis beginning on or about November

12   13, 2020.

13

14

15           REQUEST FOR PRODUCTION NO. 8: Please produce all documents and

16   communications consisting of or related to orders and directions given to SDOT employees and

17   personnel related to or referencing the CHOP, incidents occurring at or near the CHOP zone, or

18   involving CHOP participants.

19           RESPONSE: Request No. 8 duplicates Request No. 6. No further response will be given.

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21

22           REQUEST FOR PRODUCTION NO. 9: Please produce all body camera footage from

23   SPD officers, agents, or employees that were recorded at or near the CHOP zone or involve a

24   CHOP participant.

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                                                                                        LAW OFFICES
     PLAINTIFF HUNTERS CAPITAL, LLC’S FIRST SET OF                      HARRIGAN LEYH FARMER & THOMSEN LLP
     INTERROGATORIES AND FIRST REQUESTS FOR PRODUCTION                         999 THIRD AVENUE, SUITE 4400
                                                                               SEATTLE, WASHINGTON 98104
     TO DEFENDANT CITY OF SEATTLE AND THE CITY’S                            TEL (206) 623-1700 FAX (206) 623-8717
     OBJECTIONS AND RESPONSES THERETO - 30
     (Case No. 20-cv-00983)
 1          RESPONSE: The City objects to this request as vague, ambiguous, overly broad, and

 2   unduly burdensome because (1) the “CHOP zone” as defined encompasses a geographic area so

 3   large that searching it is likely to include information unrelated to the claims or defenses in this

 4   case and would be disproportionate to the case’s needs, (2) this problem is compounded by the

 5   request including areas “near” the CHOP zone, (3) the City has no reliable means of identifying

 6   whether a given person qualifies as a “CHOP participant” as defined, and (4) as written, this

 7   request would require the City to review an immense cache of videos, much of which is unrelated

 8   to the claims and defenses at issue, which would be an immense burden and far out of proportion

 9   to the needs of the case. No additional documents will be produced in response to this request, but

10   the City is willing to confer regarding a significantly limited request for records relevant to the

11   claims and defenses at issue and in proportion to the needs of the case.

12

13

14          REQUEST FOR PRODUCTION NO. 10: Please produce all documents and

15   communications relating to, referencing, or concerning any tort claims (or damages claims)

16   Defendant has received relating to, referencing, or concerning the CHOP, from June 8, 2020 to the

17   present.

18          RESPONSE: The City objects to this request as vague, ambiguous, overly broad, and

19   unduly burdensome to the extent that it seeks an undefined set of documents that (1) “relat[e] to,

20   referenc[e], or concern[]” submitted tort claim forms, or (2) “relat[e] to, referenc[e], or concern[]”

21   the CHOP rather than simply referring to it (or using one of its synonyms). The City specifically

22   objects to providing any documents other than the tort claim (or damages claim) forms.

23          Pursuant to these objections, the City will produce tort claim (or damages claim) forms on a

24   rolling basis beginning on or about November 13, 2020.

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                                                                                         LAW OFFICES
     PLAINTIFF HUNTERS CAPITAL, LLC’S FIRST SET OF                       HARRIGAN LEYH FARMER & THOMSEN LLP
     INTERROGATORIES AND FIRST REQUESTS FOR PRODUCTION                          999 THIRD AVENUE, SUITE 4400
                                                                                SEATTLE, WASHINGTON 98104
     TO DEFENDANT CITY OF SEATTLE AND THE CITY’S                             TEL (206) 623-1700 FAX (206) 623-8717
     OBJECTIONS AND RESPONSES THERETO - 31
     (Case No. 20-cv-00983)
 1

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 3           REQUEST FOR PRODUCTION NO. 11: Please produce all documents and

 4   communications concerning City permits related to public gatherings, public events, protests, street

 5   closures, and/or the dispensing or sale of food or beverages and concerning activities within the

 6   City of Seattle between January 1, 2020 and the present.

 7           RESPONSE: The City objects to this request as overly broad, unduly burdensome and

 8   duplicative because it (1) encompasses a larger geographic area than is relevant to the claims or

 9   defenses in this case, and (2) spans a longer timeframe than is relevant to the claims or defenses in

10   the case, and (3) applied literally, this request would require searching and reviewing the accounts

11   of hundreds (or more) City employees, which would be greatly disproportionate to the needs of the

12   case.

13           Without waiving any objection, and subject to continuing investigation, the City will

14   produce responsive, non-privileged records (1) dated between June 8, 2020 and July 10, 2020, (2)

15   containing at least one of the search terms provided by the plaintiffs (see Ex. B), (3) gathered from

16   one of the following City departments: EOC and/or OEM, FAS, HSD, Mayor’s office, OED,

17   Parks, SDOT, SFD, SPD, SPU, and (4) for emails and text messages, gathered from the agreed list

18   of custodians (see Ex. B). The City’s rolling production will begin on or about November 13,

19   2020.

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21

22           REQUEST FOR PRODUCTION NO. 12: Please produce all documents and

23   communications concerning the responses provided by SPD, SFD, SPU, or any other emergency

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                                                                                        LAW OFFICES
     PLAINTIFF HUNTERS CAPITAL, LLC’S FIRST SET OF                      HARRIGAN LEYH FARMER & THOMSEN LLP
     INTERROGATORIES AND FIRST REQUESTS FOR PRODUCTION                         999 THIRD AVENUE, SUITE 4400
                                                                               SEATTLE, WASHINGTON 98104
     TO DEFENDANT CITY OF SEATTLE AND THE CITY’S                            TEL (206) 623-1700 FAX (206) 623-8717
     OBJECTIONS AND RESPONSES THERETO - 32
     (Case No. 20-cv-00983)
 1   services and first responders to incidents within the CHOP, at or near the CHOP zone, or involving

 2   CHOP participants between May 26, 2020 through July 10, 2020.

 3          RESPONSE: The City objects to this request as vague, ambiguous, overly broad, and

 4   unduly burdensome because (1) “responses” and “incidents” are not defined, (2) the City has no

 5   reliable means of identifying whether a given person qualifies as a “CHOP participant” as defined,

 6   (3) the “CHOP zone” as defined encompasses a geographic area so large that searching it is likely

 7   to include information unrelated to the claims or defenses in this case and would be

 8   disproportionate to the case’s needs, (4) this problem is compounded by the request including areas

 9   “near” the CHOP zone, (5) it spans a longer timeframe than is relevant to the claims and defenses

10   at issue in the case, and (6) applied literally, this request would require searching and reviewing the

11   accounts of hundreds (or more) City employees, which would be greatly disproportionate to the

12   needs of the case. The City specifically objects to the production of SFD radio communications

13   and fire dispatch call recordings because the burden or expense of producing them far outweighs

14   its likely benefit and would be disproportionate to the needs of the case, particularly in light of the

15   other materials the City will produce. For SPD records related to offenses allegedly occurring

16   within the “CHOP zone,” the City will produce all 9-1-1 calls, all SPD radio communication, and

17   SPD CAD logs. The City will not produce every SPD record associated with every offense

18   allegedly occurring within the “CHOP zone” because the burden or expense of producing them far

19   outweighs the likely benefit and would be disproportionate to the needs of the case.

20          Without waiving any objection, and subject to continuing investigation, the City will

21   produce responsive, non-privileged records (1) dated between June 8, 2020 and July 10, 2020, (2)

22   containing at least one of the search terms provided by the plaintiffs (see Ex. B), (3) gathered from

23   one of the following City departments: EOC and/or OEM, FAS, HSD, Mayor’s office, OED,

24   Parks, SDOT, SFD, SPD, SPU, and (4) for emails and text messages, gathered from the agreed list

25
                                                                                         LAW OFFICES
     PLAINTIFF HUNTERS CAPITAL, LLC’S FIRST SET OF                       HARRIGAN LEYH FARMER & THOMSEN LLP
     INTERROGATORIES AND FIRST REQUESTS FOR PRODUCTION                          999 THIRD AVENUE, SUITE 4400
                                                                                SEATTLE, WASHINGTON 98104
     TO DEFENDANT CITY OF SEATTLE AND THE CITY’S                             TEL (206) 623-1700 FAX (206) 623-8717
     OBJECTIONS AND RESPONSES THERETO - 33
     (Case No. 20-cv-00983)
 1   of custodians (see Ex. B). The City’s rolling production will begin on or about November 13,

 2   2020.

 3

 4

 5           REQUEST FOR PRODUCTION NO. 13: Please produce documents sufficient to

 6   determine the speed and manner of responses provided by SPD, SFD, SDOT, SPU, or any other

 7   emergency services and first responders to incidents within the City of Seattle between May 26,

 8   2020 through July 10, 2020.

 9           RESPONSE: The City objects to this request as overly broad, unduly burdensome and

10   duplicative because it (1) encompasses a larger geographic area than is relevant to the claims or

11   defenses in this case, (2) spans a longer timeframe than is relevant to the claims or defenses in the

12   case, (3) seeks an indefinite document set based on an ambiguous limiting factor, and (4) applied

13   literally, this request would require searching and reviewing the accounts of hundreds (or more)

14   City employees, which would be greatly disproportionate to the needs of the case.

15           Without waiving any objection, and subject to continuing investigation, the City will

16   produce any responsive, non-privileged records (1) dated between June 8, 2020 and July 10, 2020,

17   (2) containing at least one of the search terms provided by the plaintiffs (see Ex. B), (3) gathered

18   from one of the following City departments: EOC and/or OEM, FAS, HSD, Mayor’s office, OED,

19   Parks, SDOT, SFD, SPD, SPU, and (4) for emails and text messages, gathered from the agreed list

20   of custodians (see Ex. B). The City’s rolling production will begin on or about November 13,

21   2020.

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                                                                                        LAW OFFICES
     PLAINTIFF HUNTERS CAPITAL, LLC’S FIRST SET OF                      HARRIGAN LEYH FARMER & THOMSEN LLP
     INTERROGATORIES AND FIRST REQUESTS FOR PRODUCTION                         999 THIRD AVENUE, SUITE 4400
                                                                               SEATTLE, WASHINGTON 98104
     TO DEFENDANT CITY OF SEATTLE AND THE CITY’S                            TEL (206) 623-1700 FAX (206) 623-8717
     OBJECTIONS AND RESPONSES THERETO - 34
     (Case No. 20-cv-00983)
 1           REQUEST FOR PRODUCTION NO. 14: Please produce all documents or

 2   communications concerning any request for public records made to Defendant that concerns,

 3   references, or relates to CHOP, the CHOP zone, or CHOP participants.

 4           RESPONSE: The City objects to this request as vague, ambiguous, overly broad, unduly

 5   burdensome and duplicative because (1) the City has no reliable means of identifying whether a

 6   given person qualifies as a “CHOP participant” as defined, (2) the “CHOP zone” as defined

 7   encompasses a geographic area so large that searching it is likely to include information unrelated

 8   to the claims or defenses in this case and would be disproportionate to the case’s needs, (3) the

 9   City has no reasonable means of identifying whether a given “public record request” “concern[s],”

10   reference[s]” or “relate[s]” to the CHOP unless it refers to the “CHOP” (or uses one of its

11   synonyms), and (4) applied literally, this request would require searching and reviewing the

12   accounts of hundreds (or more) City employees, which would be greatly disproportionate to the

13   needs of the case.

14           Without waiving any objection, and subject to continuing investigation, the City will

15   produce responsive, non-privileged records (1) dated between June 8, 2020 and July 10, 2020, (2)

16   containing at least one of the search terms provided by the plaintiffs (see Ex. B), (3) gathered from

17   one of the following City departments: EOC and/or OEM, FAS, HSD, Mayor’s office, OED,

18   Parks, SDOT, SFD, SPD, SPU, and (4) for emails and text messages, gathered from the agreed list

19   of custodians (see Ex. B). The City’s rolling production will begin on or about November 13,

20   2020.

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23           REQUEST FOR PRODUCTION NO. 15: Please produce all video, audio recordings,

24   photographs, or other depictions in Defendant’s possession of the CHOP zone, people or activities

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                                                                                        LAW OFFICES
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     INTERROGATORIES AND FIRST REQUESTS FOR PRODUCTION                         999 THIRD AVENUE, SUITE 4400
                                                                               SEATTLE, WASHINGTON 98104
     TO DEFENDANT CITY OF SEATTLE AND THE CITY’S                            TEL (206) 623-1700 FAX (206) 623-8717
     OBJECTIONS AND RESPONSES THERETO - 35
     (Case No. 20-cv-00983)
 1   in the CHOP one, and crime or vandalism in the CHOP zone at any time between June 8, 2020,

 2   and July 15, 2020.

 3           RESPONSE: The City objects to this request as vague, ambiguous, overly broad, unduly

 4   burdensome, and duplicative because (1) as written, it would require searching the

 5   communications of hundreds (or more) employees, and (2) the request largely includes records

 6   unrelated to the claims or defenses in this case. To the extent this request includes police body

 7   camera footage, the City reiterates its objection to Request No. 9.

 8           Without waiving any objection, and subject to continuing investigation, the City will

 9   produce responsive, non-privileged records (1) dated between June 8, 2020 and July 10, 2020, (2)

10   containing at least one of the search terms provided by the plaintiffs (see Ex. B), (3) gathered from

11   one of the following City departments: EOC and/or OEM, FAS, HSD, Mayor’s office, OED,

12   Parks, SDOT, SFD, SPD, SPU, and (4) for emails and text messages, gathered from the agreed list

13   of custodians (see Ex. B). The City’s rolling production will begin on or about November 13,

14   2020.

15

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17           REQUEST FOR PRODUCTION NO. 16: Excluding such documents and

18   communications responsive to Requests for Production Nos. 1 through 14 above, please produce

19   any and all additional documents and communications referring to the CHOP, the CHOP zone, or

20   conditions in the Capitol Hill neighborhood during the presence of the CHOP in possession of

21   Defendant.

22           RESPONSE: The City objects to this request as vague, ambiguous, overly broad, unduly

23   burdensome, and duplicative because (1) as written, the request would require searching the

24   communications of hundreds (or more) employees, and (2) the request encompasses a larger

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                                                                                           LAW OFFICES
     PLAINTIFF HUNTERS CAPITAL, LLC’S FIRST SET OF                         HARRIGAN LEYH FARMER & THOMSEN LLP
     INTERROGATORIES AND FIRST REQUESTS FOR PRODUCTION                            999 THIRD AVENUE, SUITE 4400
                                                                                  SEATTLE, WASHINGTON 98104
     TO DEFENDANT CITY OF SEATTLE AND THE CITY’S                               TEL (206) 623-1700 FAX (206) 623-8717
     OBJECTIONS AND RESPONSES THERETO - 36
     (Case No. 20-cv-00983)
 1   geographic area and a longer timeframe than is relevant to the claims or defenses in this case, and

 2   (3) the plaintiffs have already propounded subject-matter limited requests that will return the

 3   requested documents to the extent they are relevant to the claims or defenses in this case. No

 4   additional documents will be produced in response to this request.

 5

 6

 7          DATED this 30th day of October, 2020.

 8   PETER S. HOLMES                               HARRIGAN LEYH FARMER & THOMSEN LLP
     Seattle City Attorney
 9
     By: s/ Joseph Groshong                        By: s/ Arthur W. Harrigan, Jr.
10       Joseph Groshong, WSBA #41593                  Arthur W. Harrigan, Jr., WSBA #1751
         Assistant City Attorney                       Tyler L. Farmer, WSBA #39912
11
         Seattle City Attorney’s Office                Kristin E. Ballinger, WSBA #28253
12       701 Fifth Avenue, Suite 2050                  999 Third Avenue, Suite 4400
         Seattle, WA 98104                             Seattle, WA 98104
13       Tel: (206) 684-8200                           Tel: (206) 623-1700
         Joseph.Groshong@seattle.gov                   arthurh@harriganleyh.com
14                                                     tylerf@harriganleyh.com
                                                       kristinb@harriganleyh.com
15

16                                     Attorneys for the City of Seattle

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                                                                                           LAW OFFICES
     PLAINTIFF HUNTERS CAPITAL, LLC’S FIRST SET OF                         HARRIGAN LEYH FARMER & THOMSEN LLP
     INTERROGATORIES AND FIRST REQUESTS FOR PRODUCTION                            999 THIRD AVENUE, SUITE 4400
                                                                                  SEATTLE, WASHINGTON 98104
     TO DEFENDANT CITY OF SEATTLE AND THE CITY’S                               TEL (206) 623-1700 FAX (206) 623-8717
     OBJECTIONS AND RESPONSES THERETO - 37
     (Case No. 20-cv-00983)
EXHIBIT A
                                     EXHIBIT B

                        City of Seattle Email Accounts Searched

                 Name                         Title                    Department

Chen, Michelle                           Legal Counsel                Mayor’s Office
Durkan, Jenny                                Mayor                    Mayor’s Office
Fong, Mike                           Senior Deputy Mayor              Mayor’s Office
Formas, Stephanie                        Chief of Staff               Mayor’s Office
                                    Deputy Communications
Hightower, Kamaria                          Director                  Mayor’s Office
                                      Senior Public Safety
Kline, Julie                                Advisor                   Mayor’s Office
                                    Deputy Mayor of External
Ranganathan, Shefali                       Relations                  Mayor’s Office
                                       Deputy Mayor of
Sixkiller, Casey                           Operations                 Mayor’s Office
Thompson, Adrienne                      Policy Director               Mayor’s Office

                                                                   Office of Economic
Lee, Bobby                                  Director                  Development
                                                                   Office of Economic
OED@seattle.gov                                                       Development
                                                                   Office of Economic
Wells, Michael                      Small Business Advocate           Development

                                                                   Office of Emergency
Neafcy,Kenneth                       Operations Coordinator            Management
                                                                   Office of Emergency
Nelson, Laurel                           Acting Director               Management

                                       Deputy Director –          Seattle Department of
Maxie, Rodney                        Maintenance Operations          Transportation
                                                                  Seattle Department of
Zimbabwe, Sam                               Director                 Transportation

                                                                  Seattle Human Services
Beck, Tara                         Director – Navigation Team           Department

                                        Assistant Chief of
Hastings, Bryan                            Operations             Seattle Fire Department
Scoggins, Harold                              Chief               Seattle Fire Department
                 Name                       Title                    Department
Aguirre, Jesus                         Superintendent          Seattle Parks Department
                                  Division Director – Parks
Furuto, Joey                          and Environment          Seattle Parks Department
PKS_Info.seattle.gov                                           Seattle Parks Department
PKS_Work_Order_Desk.seattle.gov                                Seattle Parks Department

                                  Lieutenant – Force Review
Anderson, Shanon                              Unit             Seattle Police Department
                                      Executive Director -
Anderson, Valerie                       Administration         Seattle Police Department
Baird, Mark                         Chief Operating Office     Seattle Police Department
Best, Carmen                         (former) Police Chief     Seattle Police Department
                                  Executive Director – Legal
Boatright, Becca                            Affairs            Seattle Police Department
                                       Assistant Chief –
                                    Professional Standards
Cordner, Lesley                             Bureau             Seattle Police Department
Diaz, Adrian                        Police Chief (current)     Seattle Police Department
                                     Executive Director –
Fields, Michael                        Human Resources         Seattle Police Department
                                     Executive Director –
Fisher, Christopher                   Strategic Initiatives    Seattle Police Department
                                   Assistant Chief – Special
Greening, Eric                         Operations Bureau       Seattle Police Department
                                       Assistant Chief –
Hirjak, Stephen                     Collaborative Policing     Seattle Police Department
                                   Assistant Chief – Patrol
Mahaffey, Thomas                          Operations           Seattle Police Department
                                  Assistant Chief – Criminal
Nollette, Deanna                    Investigations Bureau      Seattle Police Department
                                     Executive Director –
Socci, Angela                          Budget & Finance        Seattle Police Department

Beauregard, Idris                         Manager               Seattle Public Utilities
Hara, Mami                                Director              Seattle Public Utilities
         Final Email Searches Conducted for All City Departments
                     Except Seattle Police Department


1. “chop” OR “chaz” OR “autonomous zone”

2. (organized OR occupy*) /10 “capitol hill”

3. (protest* OR demonstrat* OR riot OR camp* OR encamp* OR squat* OR occupy*

   OR occupation) /40 (“capitol hill” OR “east precinct” OR “cal anderson”)

4. complain* /40 (barricade* OR protest* OR barrier* OR anarchy OR violence OR

   lawless* OR graffiti OR blm OR antifa OR encamp* OR camp* OR “proud boys” OR

   “black lives matter”)

5. complain* and (“capitol hill” OR “east precinct” OR “cal anderson”)

6. (shooting* OR violen* OR anarchy OR lawless OR gun* OR firearm* OR rifle* OR

   weapon* OR kni* OR machete OR pistol* OR assault* OR rape OR murder* OR theft

   OR burgl* OR attack* OR threat* OR intimidate* OR noise OR graffit* OR nuisance

   OR danger* OR harm* OR endanger*) and (“capitol hill” OR “east precinct” OR “cal

   anderson”)

7. (911 OR “9-1-1” OR police OR spd OR fire OR emergency OR ambulance OR sfd OR

   transport* OR spu OR utility* OR sdot) and ((respon*/20 (no OR not OR unabl* OR

   inabil* OR lack)) OR “no go”)

8. (barricade* OR protest* OR barrier* OR anarchy OR graffiti OR vandal* OR blm OR

   antifa OR “proud boys” OR “black lives matter”) /40 (911 OR “9-1-1” OR police OR

   spd OR fire OR emergency OR ambulance OR sfd)

9. (“capitol hill” OR “east precinct” OR “cal anderson”) and (block* OR barricade* OR

   barrier* OR imped* OR peven* OR impair* OR harm* OR damage* OR control*) and

   (traffic* OR public OR street* OR sidewalk OR sdot OR transport* OR utility OR spu

   OR door OR park* OR entrance OR access OR driveway OR garage OR movement
   OR propert* OR home* OR business* OR apartment* OR house* OR (right*/10

   way*))

10. (agree* OR negotiat* OR meet* OR met* OR support* OR promot*) /40 (protest*

   OR demonstrat*)


     Email Searches Conducted for Seattle Police Department Accounts


1. “chop” OR “chaz” OR “autonomous zone”

2. (organized OR occupy*) /10 “capitol hill”

3. (protest* OR demonstrat* OR riot OR camp* OR encamp* OR squat* OR occupy*

   OR occupation) /40 (“capitol hill” OR “east precinct” OR “cal anderson”)

4. complain* /40 (barricade* OR protest* OR barrier* OR anarchy OR violence OR

   lawless* OR graffiti OR blm OR antifa OR encamp* OR camp* OR “proud boys” OR

   “black lives matter”)

5. complain* and (public /10 service*) and (“capitol hill” OR “east precinct” OR “cal

   anderson”)

6. (shooting* OR violen* OR anarchy OR lawless OR gun* OR firearm* OR rifle* OR

   weapon* OR kni* OR machete OR pistol* OR assault* OR rape OR murder* OR theft

   OR burgl* OR attack* OR threat* OR intimidate* OR noise OR graffit* OR nuisance

   OR danger* OR harm* OR endanger*) and (“capitol hill” OR “east precinct” OR “cal

   anderson”)

7. (911 OR “9-1-1” OR police OR spd OR fire OR emergency OR ambulance OR sfd OR

   transport* OR spu OR utility* OR sdot) and ((respon* /s (no OR not OR unabl* OR

   inabil* OR lack)) OR “no go”)
8. (barricade* OR protest* OR barrier* OR anarchy OR graffiti OR vandal* OR blm OR

   antifa OR “proud boys” OR “black lives matter”) /40 (911 OR “9-1-1” OR police OR

   spd OR fire OR emergency OR ambulance OR sfd)

9. (“capitol hill” OR “east precinct” OR “cal anderson”) and ((block* OR barricade* OR

   barrier* OR imped* OR peven* OR impair* OR harm* OR damage* OR control*) and

   (traffic* OR public OR street* OR sidewalk OR sdot OR transport* OR utility OR spu

   OR door OR park* OR entrance OR access OR driveway OR garage OR movement

   OR propert* OR home* OR business* OR apartment* OR house* OR (right* /3

   way*)))

10. (agree* OR negotiat* OR meet* OR met* OR support* OR promot*) /40 (protest*

   OR demonstrat*)
 1                                    CERTIFICATE OF SERVICE

 2          I, Florine Fujita, declare that I am employed by the law firm of Harrigan Leyh Farmer &
     Thomsen LLP, a citizen of the United States of America, a resident of the State of Washington,
 3   over the age of eighteen (18) years, not a party to the above-entitled action, and competent to be a
     witness herein.
 4
            On October 30, 2020, I caused a true and correct copy of the foregoing document to be
 5
     served on counsel listed below in the manner indicated:
 6
             Patty A. Eakes                                     Via Hand Delivery
 7           Angelo J. Calfo                                    Via First Class Mail
             Tyler S. Weaver                                    Via Facsimile
 8           Andrew DeCarlow                                    Via Electronic Mail
             Henry Phillip                                      Via CM/ECF
 9           CALFO EAKES LLP
             1301 Second Avenue, Suite 2800
10           Seattle, WA 98101
             pattye@calfoeakes.com
11
             angeloc@calfoeakes.com
12           tylerw@calfoeakes.com
             andrewd@calfoeakes.com
13           henryp@calfoeakes.com

14          DATED this 30th day of October, 2020.

15

16                                                 s/ Florine Fujita
                                                   Florine Fujita, Legal Assistant
17                                                 florinef@harriganleyh.com
18

19

20

21

22

23

24

25
                                                                                       LAW OFFICES
     PLAINTIFF HUNTERS CAPITAL, LLC’S FIRST SET OF                     HARRIGAN LEYH FARMER & THOMSEN LLP
     INTERROGATORIES AND FIRST REQUESTS FOR PRODUCTION                        999 THIRD AVENUE, SUITE 4400
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     OBJECTIONS AND RESPONSES THERETO - 38
     (Case No. 20-cv-00983)
